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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                               PADUCAH DIVISION
                                (Electronically Filed)

CONNIE BUSHNELL,                    )
              Plaintiff             )
v.                                  )
                                    )
                                    )               Civil Action No.: 5:18-cv-00173-TBR
MAXFUEL XPRESS                      )
                   Defendant        )
____________________________________)

        DEFENDANT, MAXFUEL XPRESS’ RULE 26 INITIAL DISCLOSURES


       Pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure, Defendant, Maxfuel

Xpress, by counsel, disclose the following information:

       (A)    POTENTIAL WITNESSES

              1. All persons identified in the Plaintiff’s Rule 26 Disclosures.
              2. The Defendant, Maxfuel Xpress, who has knowledge about the facts and
                 circumstances of the matters alleged in Plaintiff’s Complaint.
              3. The Plaintiff, Connie Bushnell, who is expected to have knowledge about the
                 matters alleged in her Complaint.
              4. Any other individual with knowledge or information that is revealed during
                 the discovery process.
              5. Any expert witness(es) identified on Defendant’s behalf.
              6. Any expert witness(es) identified by the Plaintiff.

       The Defendant reserves the right to supplement this list as discovery proceeds in

accordance with the Federal Rules of Civil Procedure and/or this Court’s Scheduling Order.

Plaintiff reserves the right to raise appropriate objections to the production of any documents,

electronically stored information, and tangible things. Without waiving these objections, the

Defendant identifies the following items, which may be used to support its claims.




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       (B)    DOCUMENTS

              1. Photographs of the site of the accident;
              2. Plaintiff’s medical records;
              3. Plaintiff’s medical bills;
              4. Any documents or other tangible items listed in Plaintiff’s Initial Disclosures;
              5. Any other individual with knowledge or information that is revealed during
                 the discovery process; and
              6. Any documents used for impeachment.

       (C)    DAMAGES

              7. The Defendant makes no claim for damages.

       The Defendant reserves the right to supplement this disclosure as this case progresses and

new information is discovered in accordance with Federal Rules of Civil Procedure and/or this

Court’s Scheduling Order.

       (D)    INSURANCE

              8. The Defendant is insured through Zurich North American Insurance Company
                 of Iowa, Inc. A copy of the Defendant’s insurance policy will be provided
                 under a separate cover.


       This the 28th day of January, 2019.

                                             JUDD, SATTERFIELD & ASSOCIATES, PLLC
                                             869 Broadway Ave
                                             P.O. Box 51093
                                             Bowling Green, KY 42102
                                             (270) 904-4141
                                             (888) 590-2842

                                             /s/ Harlan E. Judd, III_________________
                                             Harlan E. Judd, III
                                             Counsel for Defendants




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                                CERTIFICATE OF SERVICE

       This is to certify that a true and exact copy of the foregoing was placed in the U.S. Mail
addressed to the following:

Matthew Paul Schultz
Morgan & Morgan
504 Broadway, Suite 100
Paducah, KY 42001
For the Plaintiff, Connie Bushnell

       This the 28th day of January, 2019.



                                             /s/ Harlan E. Judd, III_________________
                                             Harlan E. Judd, III
                                             Counsel for Defendants




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